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 3              IN THE UNITED STATES DISTRICT COURT FOR THE

 4                      EASTERN DISTRICT OF CALIFORNIA

 5

 6   UNITED STATES OF AMERICA,

 7                   Plaintiff,
                                             CR. NO. S-97-0609 EJG
 8             v.                            CIV. NO. S-02-1898 EJG

 9   LEVY ARREOLA RUBIO,                     ORDER GRANTING MOTION TO
                                             WITHDRAW RULE 60(b) MOTION
10                  Defendant.
     _____________________________/
11

12        Defendant, a federal prisoner proceeding pro se, has filed

13   several documents with the court.       On January 3, 2006 he filed a

14   Rule 60(b) motion to set aside his conviction and sentence.            On

15   the same date he filed a request for production of documents in

16   connection with the Rule 60(b) motion.       On January 6, 2006, he

17   filed a motion to withdraw his Rule 60(b) motion.

18        The motion to withdraw is GRANTED.        The Rule 60(b) motion is

19   withdrawn and will not be considered by the court.         The related

20   document request is also deemed withdrawn.

21        IT IS SO ORDERED.

22   Dated: January 11, 2006

23                                     /s/Edward J. Garcia       ________
                                       EDWARD J. GARCIA, JUDGE
24                                     UNITED STATES DISTRICT COURT

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